  Case
MIED        2:15-cr-20351-SFC-MKM
     (Rev. 04/09/06) Notice of Appeal           ECF No. 335, PageID.2596 Filed 04/09/20 Page 1 of 1


                                           UNITED STATES DISTRICT COURT
                                           EASTERN DISTRICT OF MICHIGAN

United States of America


                  Plaintiff(s),                                      Case No. 15-20351

v.                                                                   Judge Sean F. Cox

Waseem Alam                                                          Magistrate Judge Mona K. Majzoub


                  Defendant(s).
                                                           /


                                                   NOTICE OF APPEAL

         Notice is hereby given that Defendant Waseem Alam                                                            appeals to

the United States Court of Appeals for the Sixth Circuit from the:                   Judgment         ✔ Order

     Other:

entered in this action on April 8, 2020                          .



Date: April 9, 2020                                                  s/Michael R. Dezsi

Counsel is: CJA                                                      P64530
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Appellant: Please file this form with the District Court Clerk’s Office. If you are paying the filing fee, please make your
$505.00 check payable to: Clerk, U.S. District Court.
